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1. ctRJoIsTmrv. CODE z PF.RsoN REPRESENTED voUcHER NuMBER
TNW Miller, Brian
3. MAG. m<'onF. NuMBt-:R 4. ms'r. nK'rJoEt-‘. NuMBER s. APPEALS m<'m)cr. NuMBEn s. owen mar NuMnéR
1:04-010023-002
v. m cAsEtMAnt:n oF lam N.m¢> a. PAth-:NT cATEGonv 9. rer ransom REPRESENTED 10 rt)§:z» §t:_sm~_t_u_now rva
_ E¢ nl r\lC lO|'\I
U.S. v. Mlller Felony Adult Def`endant Criminal Case

 

 

 

 

IL OFFENSE(S) CH ARGED [Cite U.S. Code, Tlli¢ & S¢t‘.tit)\’l) ll’more than one allente. lill (up to |'ive) major offmael charged,according lo severity nfol'l'enae.

l) 21 841A=CD. F -- CONTROLLED SUBSTANCE - SELL, DISTRIBU TE, OR DISPENSE

 

12. A'[']'ORNEY'S NAME Flr$t Name, M.l., Laat Name, including any sufllt) ll COURT ORDER

 

AND MA|LING ADDRE S m 0 Appointing Counte| ij C Co-Cout\ael
Morris lack Coiin m F Subt l"or Federal Del'ender g R Subt For Retalned Artorney
204 “; Bal{imo[‘e f l:\ P Subt Fnr Pane| Attorney n V Sm!dhy gou.m|
JaCkSOl'\ TN 38301 Prior Attorney's Nat‘ne:

Appnintment Dlte:

[:l Becauae the above-named person represented hal tel titled under oath or hat
otherwise salial'led this court that he or ahe {1)' la financially unable to employ counsel and
T.|,Ed", Numb,n (1) does not wish to waive cnunael, and became the llterette of|uttlce to require. the

- l lte 11 l l t d l
]4_ N_`ME AND MAILING ADDRESS oF LAW FlRM _“_y pm___d¢ mr __________c__°m_ me name appeart n 2 l ap tt e to represent th e person in this case,

» Pruldlng .ludlcial Officer or By Order of the Cuttrt 151
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_'Y ol' Order Nunc Pro Tunc D

Repay nt or partial repayment ordered from the perton represented for th _te!&§§__
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CATEGORIES (Attaclt itemization ol' services with datea) CE£I[I{H:SD
CLAIMED HOURS AMOUNT
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b. Bail and Detentioo Hearings -_ ge 0
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C e. Sentenclng Hearings _
3 f. Revocation Hearings n _
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h. Other (Specify on additional aheeta) ___ _ __ _ _ _ _ _ __- _ _
(Rate per hour - $ ] TOTALS: _ _
16. a. lnterviewa and Conl’erences j' ' ' ' '-
g b. Obtaining and reviewing records _
o c. Legal research and brief writing - _
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l'.'. Travel Expenses (lodging, parklng, meals, mlleage, etc.) _ `
lB. Oihel' Expense! (other than expert, tl'anacript.\, elt:.) _:_E

 

 

19. CERTIF[CA'HON OF ATI`ORN`EYIi;AYEE FOR THE PERIOD 0 F SERV]CE 10.APPOINTMEN1`TERMINAT|ON DATE 21. CASE DlSPOSITlON

ll" OTHER TH.AN CASE COMPLETIGN

 

 

FROM _______ 10
12. C LAIM STATUS i:.\ F|nai Plyment Cf lnter|ln l’aymenl Number _ I:I Supp|emenlal Payment
Have you previously applied to the court for compensation and.'or remimhursement for this cue? l] YES l:\ NO lf yet, were you paid'.' m YES l:] NO
Other than from lhe cour!. have yon, or to your knowledge has anyone else, received payment (compenaation or anything or value) from any other source ln connection with this
reprueolation? l:l YES g NO if yet, give details on additional theett.

l swear orat'tirm the truth or correctness ol' the above statementl.

Sigtmure nl' Attorney: Date:

    

 

 

 

 

 

 

ll lN COURTCOMP. O!"CORUT CC|MP. 15. TRAVEL EXPENSES n 16. OTHER F.XPENSES 17. TOTAM.APFR! CERT
13. SlGNATURE OF THE FRES]D]NG JUDIC[AL C|FFICER DATE zla. JUDGE f MAG. JUDGE CODE
29. tN COURT COMP. JD. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32. OTl-[ER EXPENSES .13. TOTAL AMT. APPROVED

34. S__I__(__j_l_`_l_._»_\e'_l_'l;il:§¢g.l?°t;_`_l:_llil_l:_._l`_lg__D__(;jhi_l_,"Cth.l.l}n'!_`___O__E` APP EALS (OR DELEGATE) hyman DATE J\ta.` JUDGE CODE

 

 

 

 

 

 

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204 W. Baltimore

Jackson7 TN 38302--162

Honorable J ames Todd
US DISTRICT COURT

